
633 S.E.2d 678 (2006)
DURHAM LAND OWNERS ASSOCIATION, an unincorporated association, Anderson Homes, Inc., Cimarron Capital, Inc., d/b/a Cimarron Homes, the Dress Company d/b/a The Dress Homes Company, M/I Homes of Raleigh, LLC, Olde South Homes, Inc., Randall H. Stewart, St. Lawrence Homes, Inc., Sun River Builders, Inc., Thomas Hugh Mullen, 3-D Builders, Inc., Vance Crabtree Builders, LLC, Westfield Homes of the Carolinas, LLC, on behalf of themselves and all others similarly situated
v.
COUNTY OF DURHAM.
No. 343P05-2.
Supreme Court of North Carolina.
June 29, 2006.
Chuck Kitchen, County Attorney, for County of Durham.
Henry C. Fordham, Jr., for Durham County Land Owners, et al.
*679 Grayson Kelley, Senior Deputy Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 12th day of June 2006 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 29th day of June 2006."
Upon consideration of the petition filed on the 12th day of June 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 29th day of June 2006."
